

Nationstar Mtge. LLC v Ahmed (2021 NY Slip Op 03259)





Nationstar Mtge. LLC v Ahmed


2021 NY Slip Op 03259


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Acosta, P.J., Webber, Kennedy, Shulman, JJ. 


Index No. 381238/08 Appeal No. 13867 Case No. 2020-03505 

[*1]Nationstar Mortgage LLC, Plaintiff-Respondent,
vFerhana Ahmed, Defendant-Appellant, City of New York Environmental Control Board et al., Defendants.


The Rosenfeld Law Office, Lawrence (Avi Rosenfeld of counsel), for appellant.
McCalla Raymer Leibert Pierce, LLC, New York (Jane H. Torcia of counsel), for respondent.



Order and judgment (one paper), Supreme Court, Bronx County (Doris M. Gonzalez, J.), entered November 25, 2019, which granted plaintiff Nationstar Mortgage LLC's (Nationstar) motion for judgment of foreclosure and sale, unanimously affirmed, without costs.
To have a late answer deemed timely served nunc pro tunc, and avoid the entry of a default judgment, a nonanswering defendant is required to provide a reasonable excuse for the delay in answering and demonstrate a potentially meritorious defense to the action (see CPLR 5015[a][1]), which defendant Ahmed failed to do.
Were defendant's arguments raised in opposition to plaintiff's motion for a judgment of foreclosure and sale to be considered, such arguments would be unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








